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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 UNITED STATES OF AMERICA

 v.                                                  CRIMINAL NO. 2:25cr10

 DOMINIC NATHANIEL TORRES,

               DEFENDANT.

                                     REFERRAL ORDER

        This Court has been advised that the defendant wishes to enter a plea of guilty. A United

 States Magistrate Judge is hereby authorized, with the consent of the defendant, to conduct the

 proceedings required by Federal Rule of Criminal Procedure 11 incident to the making of the plea.

 See 28 U.S.C. § 636(b)(1); United States v. Benton, 523 F.3d 424 (4th Cir. 2008). The defendant

 may consent to the Magistrate Judge conducting the proceedings on a form provided by the Clerk.

        If, after conducting such proceedings, the Magistrate Judge recommends accepting the plea

 of guilty and the associated plea agreement, a pre-sentence investigation shall be conducted, a

 report will be prepared pursuant to Federal Rule of Criminal Procedure 32, and a sentencing date

 shall be scheduled. The undersigned District Judge will adjudicate guilt and will determine and

 impose the sentence.

        The Clerk is DIRECTED to send a copy of this Order to counsel for the parties.

        IT IS SO ORDERED.



           May 28, 2025                                          /s/
             DATE                                    UNITED STATES DISTRICT JUDGE
